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                 IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION
  IN RE:                            §
                                    § BANKRUPTCY NO. 22-50591CAG
  CHRIS PETTIT & ASSOCIATES, P.C.   §
                                    §   CHAPTER 11 PROCEEDING
  DEBTOR                            §



     MOTION OF SHARON BRIMHALL, EXECUTRIX OF THE ESTATE OF HARRY
                  SIMS TO APPOINT CHAPTER 11 TRUSTEE

  ******************************************************************************
  MOVANT HAS REQUESTED EXPEDITED CONSIDERATION OF THIS MOTION AND
  HAS REQUESTED THAT A HEARING BE HELD ON THIS MOTION AT THE
  COURT’S EARLIEST CONVENIENCE. IF THE COURT IN FACT SETS THIS
  MOTION FOR AN EXPEDITED HEARING, THEN ONLY ATTENDANCE AT THE
  HEARING IS NECESSARY TO PRESERVE YOUR RIGHTS
  ******************************************************************************


  TO THE HONORABLE CRAIG GARGOTTA, CHIEF U.S. BANKRUPTCY JUDGE:

         NOW COMES Sharon Brimhall, Executrix of The Estate of Harry Sims, a creditor and

  party in interest and files this Motion to Appoint Chapter 11 Trustee.


                              I.         JURISDICTION AND VENUE

         1.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

  and 1334 and to rule on this motion pursuant to 11 U.S.C. §§ 303(g) and 701. This is a core

  proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant to 28

  U.S.C. §§ 1408 and 1409.

                                   II.     BACKGROUND FACTS

         2.      On June 1, 2022, Christopher Pettit (“Pettit”) filed his voluntary petition initiating

  the above styled and numbered chapter 11 case (the “Bankruptcy Case”). On the same date a
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  voluntary petition under chapter 11 was filed by Chris Pettit & Associates, P.C., (“CP&A”) a law

  firm owned by Pettit.

         3.         Pettit was licensed to practice law in the state of Texas and engaged in the practice

  of law for many years at his law firm CP&A.

         4.         Sally Brimhall (“Brimhall”) was appointed as the Independent Executrix of her

  deceased husband’s probate estate on July 20, 2014. Brimhall retained Pettit and his law firm,

  CP&A to probate her husband’s will. Pettit and CP&A falsely represented that the assets of the

  probate estate would need to remain with Brimhall’s lawyers pending the wind up of the estate.

         5.         In that capacity, Pettit and CP&A received more than $2.79 million in funds

  belonging to the Sims estate. Despite repeated demands to turnover the estate funds, Pettit and

  CP&A have failed and refused to comply. On information and belief, Pettit and CP&A have

  absconded with estate assets which were deposited with them in a fiduciary capacity.

         6.         On information and belief, Pettit and/or CP&A received significant sums of money

  from a number of clients in the form of escrow deposits, probate estate funds, trust funds, 1031

  exchange accounts, investment accounts and similar types of deposits received in a fiduciary

  capacity.

         7.         According to Pettit’s Statements of Financial Affairs filed in this Bankruptcy Case,

  Pettit and CP&A were defendants in at least 12 separate lawsuits in which the plaintiff’s are

  alleging that Pettit and CP&A have stolen funds entrusted to them. On information and belief,

  several plaintiffs have received agreed judgments incorporating findings of fraud and breach of

  fiduciary duty.

         8.         Pettit’s sworn Statements of Financial Affairs further attest to 52 individuals or

  entities for whom he, in concert with CP&A, held or controlled assets, including any property he
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  borrowed or held in trust. With respect to each entry, Pettit discloses that he held the property “In

  various capacities as attorney, trustee or otherwise there were various accounts, trust or other

  devices that were held or "controlled" - the account balances are uncertain.” Not only was Pettit

  unable to determine the balances held in those “accounts” but is unable or unwilling to reveal the

  location of those accounts.

                                   III.    RELIEF REQUESTED

         9.      Section 1104(a) of Title 11 of the U.S. Code (“Bankruptcy Code” provides that)

                 (a)At any time after the commencement of the case but before confirmation
         of a plan, on request of a party in interest or the United States trustee, and after
         notice and a hearing, the court shall order the appointment of a trustee—
                 (1) for cause, including fraud, dishonesty, incompetence, or gross
         mismanagement of the affairs of the debtor by current management, either before
         or after the commencement of the case, or similar cause, but not including the
         number of holders of securities of the debtor or the amount of assets or liabilities
         of the debtor; or
                 (2) if such appointment is in the interests of creditors, any equity security
         holders, and other interests of the estate, without regard to the number of holders
         of securities of the debtor or the amount of assets or liabilities of the debtor.

         10.     Both Pettit and CP&A have engaged in a pattern of fraud, dishonesty,

  incompetence, or gross mismanagement of their affairs before commencement of the case. Cause

  exists to appoint a trustee. Moreover, appointment of a trustee is in the best interests of the

  creditors of the estate in order to prevent further harm to those creditors.

         11.     Movant seeks relief on an expedited basis. The Debtors do not oppose the relief

  requested in this motion.

                                           V.      PRAYER


         WHEREFORE PREMISES CONSIDERED, Sharon Brimhall, Executrix of The Estate of

  Harry Sims respectfully requests that the Court order appoint a trustee as described and outlined

  in 11 U.S.C. §§ 1104 and grant her all relief she may justly be entitled.
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         Respectfully submitted June 3, 2022.

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                                                By:/s/Raymond W. Battaglia
                                                Raymond W. Battaglia
                                                Texas Bar No. 01918055

                                                ATTORNEYS FOR SHARON BRIMHALL,
                                                EXECUTRIX OF THE ESTATE OF HARRY
                                                SIMS


                                   CERTIFICATE OF SERVICE

         On June 3, 2022, a true and correct copy of the foregoing document was filed with the
  Court and served electronically upon those parties registered to receive electronic notice via the
  Court’s CM/ECF system,as set forth below. I further certify that it has been transmitted by first
  class mail to the parties on the attached service list


                                                /s/ Raymond W. Battaglia
                                                Raymond W. Battaglia
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                                   Accounts
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